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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket No. 9663


               CERTIFICATION OF NO OBJECTION REGARDING TWELFTH
             MONTHLY (COMBINED) APPLICATION FOR COMPENSATION AND
             REIMBURSEMENT OF EXPENSES OF PASICH LLP, AS INSURANCE
                COUNSEL FOR THE TORT CLAIMANTS’ COMMITTEE FOR
              THE PERIOD FROM JANUARY 1, 2022 THROUGH MARCH 31, 2022
                              (NO ORDER REQUIRED)

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Twelfth Monthly (Combined) Application

for Compensation and Reimbursement of Expenses of Pasich LLP, as Insurance Counsel for the

Tort Claimants’ Committee for the Period from January 1, 2022 through March 31, 2022 (the

“Application”) filed on April 19, 2022 [Docket No. 9663]. The undersigned further certifies that

the Court’s docket in this case has been reviewed and no answer, objection or other responsive

pleading to the Application appears thereon. Pursuant to the notice of Application, objections to

the Application were to be filed and served no later than May 4, 2022 at 4:00 p.m. prevailing

Eastern Time.

                  Pursuant to the Order (I) Approving Procedures for (A) Interim Compensation

and Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for




1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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Official Committee Members and (II) Granting Related Relief [Docket No. 341] entered on April

6, 2020, the Debtors are authorized to pay Pasich LLP $201,937.20 which represents 80% of the

fees ($252,421.50) and $4,213.20 which represents 100% of the expenses requested in the

Application, for the period from January 1, 2022 through March 31, 2022, upon the filing of this

Certification and without the need for entry of a Court order approving the Application.

Dated: May 5, 2022                           PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ James E. O’Neill
                                             Richard M. Pachulski (CA Bar No. 90073)
                                             Alan J. Kornfeld (CA Bar No. 130063)
                                             Iain A.W. Nasatir (CA Bar No. 148977)
                                             Debra I. Grassgreen (CA Bar No. 169978)
                                             James E. O’Neill (DE Bar No. 4042)
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                                             Counsel for the Tort Claimants’ Committee




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